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October 27, 2024

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)

Dear Judge Liman,

        Plaintiffs Ruby Freeman and Wandrea’ Moss respectfully submit this letter to update the Court
as to the status of discovery in connection with Intervenor-Defendant Andrew H. Giuliani’s claim to the
contested World Series Rings. Plaintiffs and Intervenor Defendant have conferred and are able to jointly
report as follows:

       Plaintiffs have served discovery requests on Intervenor, who has committed to respond by
October 27, 2024. Counsel for Plaintiffs and Intervenor are in contact about scheduling Intervenor-
Defendant’s deposition and any further discovery that may be necessary, in anticipation of trying any
outstanding disputes before the Court on January 16, 2025.

                                                                 Respectfully submitted,

                                                                 s/ Aaron E. Nathan




               B RUSSELS   C HICAGO   D ALLAS   F RANKFURT       H OUSTON    L ONDON    L OS A NGELES   M ILAN
                   M UNICH   N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
